Case 2:13-Cv-01556-I\/||\/|D-GWF Document 1 Filed 08/28/13 Page 1 of 8

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

 

JANETTE WAHL, f Civil Action NO.;

Plaintiff,
v.

FMl\/fR INVESTMENTS, INC. D/B/A

RAPID CASH, : COMPLAINT

Defendant.

 

F or this Complaint, the Plaintiff, JANETTE WAI-[L, by undersigned

counsel, states as follows:

JURISDICTION

l. This action arises out of Defendant’s violations of Nevada Revised
Statutes Chapter 604A.010 et seq. (“NRS 604A”), and the harassment of Plaintiff
by the Defendant and its agents in their illegal efforts to collect a high-interest loan
as defined under this Chapter.

1. Defendants have through their conduct in collecting a loan governed
by NRS 604A violated NRS 604A.415.

2. Defendant RAPID CASH is a “licensee” as that term is defined by
NRS 604A.

3. NRS 604A.415 incorporates the F air Debt Collection Practices Act

 

Case 2:13-Cv-01556-I\/||\/|D-GWF Document 1 Filed 08/28/13 Page 2 of 8

(FDCPA), as amended, 15 U.S.C. §§ l692a to 1692j, Which applies herein “even if
the licensee is not otherwise subject to the provisions of the [FDCPA].”

4. Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

5. Venue is proper in the U.S. District Court for the District of Nevada
pursuant to 28 U.S.C. § 1391(b), as Defendant transacts business in the State of
Nevada.

PARTIES
6. The Plaintiff, JANETTE WAI-IL (“Plaintiff”), is an adult individual

residing in Las Vegas, Nevada.

7. Defendant FMMR INVESTMENTS, INC. doing business as (DfB/A)
RAPID CASH (“RAPID CASI-I”), is doing business in the State of Nevada.

8. RAPID CASH at all times acted by and through one or more of the

Collectors.

ALLEGATIONS APPLICABLE TO ALL COUNTS
A. The Debt

9. Plaintiff allegedly incurred a financial obligation (the “Debt”) to
Rapid Cash (the “Creditor”).
10. The Debt Was a “high-interest loan” as defined by NRS 604A.0703.

11. NRS 604A.415 provides that:

If a customer defaults on a loan, the licensee may collect
the debt owed to the licensee only in a professional, fair

2

 

Case 2:13-Cv-01556-I\/||\/|D-GWF Document 1 Filed 08/28/13 Page 3 of 8

and lawful manner. When collecting such a debt, the
licensee must act in accordance with and must not violate
sections 803 to 812, inclusive, of the federal Fair Debt
Collection Practices Act, as amended, 15 U.S.C. §§
l692a to 1692j, inclusive, even if the licensee is not
otherwise subject to the provisions of that Act.

12. As such, a violation of the Fair Debt Collection Practices Act

(FDCPA) a though j is also a violation of NRS 604A.415.

FACTS

13. In its attempt to collect the Debt, and in violation of 15 U.S.C. §
16920(a)(2), RAPID CASH communicated directly with Plaintiff on multiple
occasions after she informed RAPID CASH that she Was represented by an
attorney and intended to file bankruptcy.

14. The Plaintiff has suffered and continues to suffer actual damages as a
result of RAPID CASH’s unlawful conduct

15. Further, Plaintiff alleges that Defendants actions at all times herein

Were “Willful.”

B. Respondeat Superior Liabili!y

16. The acts and omissions of RAPID CASH, and the other debt collectors
employed as agents by RAPID CASH who communicated with Plaintiff as more
further described herein, were committed within the time and space limits of their

agency relationship with their principal, Defendant RAPID CASH.

3

 

Case 2:13-Cv-01556-I\/||\/|D-GWF Document 1 Filed 08/28/13 Page 4 of 8

17. The acts and omissions by RAPID CASH and these other debt
collectors were incidental to, or of the same general nature as, the responsibilities
these agents were authorized to perform by RAPID CASH in collecting consumer
debts.

18. By committing these acts and omissions against Plaintiff, RAPID
CASH and these other debt collectors were motivated to benefit their principal,
Defendant RAPID CASH.

19. RAPID CASH is therefore liable to Plaintiff through the Doctrine of
Respondeat Superior for the intentional and negligent acts, errors, and omissions
done in violation of state and federal law by its collection employees, including but
not limited to violations of the FDCPA and Nevada tort law, in their attempts to

collect a debt from Plaintiff.

COUNT I
VIOLATIONS OF THE FDCPA
AS INCORPORATED THROUGH NRS 604A.415

20. The Plaintiff incorporates by reference all of the above paragraphs of
this Complaint as though fully stated herein,

21. Any violation of 15 U.S.C. §§ 1692a through j constitutes a Violation
ofNRS 604A.415.

22. The Defendants’ conduct violated 15 U.S.C. § 16920(a)(2) in that

Defendant contacted the Plaintiff after it knew Plaintiff was represented by an

4

Case 2:13-Cv-01556-I\/||\/|D-GWF Document 1 Filed 08/28/13 Page 5 of 8

attomey.

23. The Defendants’ conduct violated 15 U.S.C. § l692d in that
Defendants engaged in behavior the natural consequence of which Was to harass,
oppress, or abuse the Plaintiff in connection with the collection of a debt.

24. The foregoing acts and omissions of the Defendants constitute
numerous and multiple violations of the FDCPA (and therefore also constitute
violations ofNRS 604A.415), including every one of the above-cited provisions

25. The Plaintiff is entitled to damages as a result of Defendants’
violations.

26. The Plaintiff has been required to retain the undersigned as counsel to
protect the Plaintiff’ s legal rights to prosecute this cause of action, and is therefore

entitled to an award or reasonable attomeys’ fees plus costs incurred.

PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants awarding the Plaintiff:

PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays that judgment be entered against the
Defendants awarding the Plaintiff:
Q;U_m

VIOLATIONS OF THE FDCPA
5

 

Case 2:13-Cv-01556-I\/||\/|D-GWF Document 1 Filed 08/28/13 Page 6 of 8

AS INCORPORATED THROUGH
NRS 604A.415

1. for consequential damages pursuant to NRS 604A.930 against each and
every Defendant for Plaintiff;

2. for an award of actual damages pursuant to NRS 604A.930 against each
and every Defendant for Plaintiff;

3. for an award of punitive damages pursuant to NRS 604A.930 against each
and every Defendant for Plaintiff;

4. for an award of costs of litigation and reasonable attomey’s fees pursuant
to NRS 604A.930 against each and every Defendant for Plaintiff;

5. “void” the Debt, bar Defendant from collecting thereon, and compel the
Defendant to turnover any principal, interest or other charges or fees
collected on the Debt pursuant to NRS 604A.900(1).

6. any other legal or equitable relief that the court deems appropriate

Case 2:13-Cv-01556-I\/||\/|D-GWF Document 1 Filed 08/28/13 Page 7 of 8

TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: August 9, 2013

Respectfully submitted,

By /s/David H. Krieger, Esq.

 

David H. Krieger, Esq.

Nevada Bar No. 9086

HAINES & KRIEGER, LLC

8985 S. Eastern Avenue, Suite 130
Henderson, Nevada 89123

Phone: (702) 880-5554

FAX: (702) 385-5518

Email: dkrieger@hainesandkrieger.com

Attorney for Plaintiff
JANETTE WAHL

Case 2:13-Cv-01556-I\/||\/|D-GWF Document 1 Filed 08/28/13 Page 8 of 8

VERIFICATION OF COMLLAINT AND CERTIFICATION

STATE OF NEVADA )
) ss
COUNTY OF CLARK )

Plaintiff JANETTE WAHL, having first been duly sworn and upon oath, deposes and
says as follows:

1.

I am a Plaintiff in this civil proceeding

2. I have read the above-entitled civil Complaint prepared by my attorneys and I

believe that all of the facts contained in it are true, to the best of my knowledge,
information and belief formed after reasonable inquiry.

I believe that this civil Complaint is well grounded in fact and warranted by
existing law or by a good faith argument for the extension, modification, or
reversal of existing law.

l believe that this civil Complaint is not interposed for any improper purpose,
such as to harass any Defendant(s), cause unnecessary delay to any Defendant(s),
or create a needless increase in the cost of litigation to any Defendant(s), named in
the Complaint.

. I have filed this civil Complaint in good faith and solely for the purposes set forth

in it.

UFETTE WAHL, Plaintiff

 

